                            IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE AT GREENEVILLE

                                         CRIMINAL MINUTES:                   Sentencing

USA v           MICHAEL WILLIAM SPROLES                                                  Date:             09/14/20

Case No.          CR-2-19-196(22)                                    Time         11:30 a.m.               To 12:05 p.m.
:
                Honorable J. RONNIE GREER, U.S. District Judge, Presiding

       Kathy Hopson                            Karen Bradley
       Deputy Clerk                            Court Reporter
======================================================================
      Gerald Gulley                            Tom McCauley
     Defendant's Attorney                     Asst. U.S. Attorney

PROCEEDINGS:

Deft given opportunity to speak - declines

Court Pronounces Judgment

It is the judgment of the Court, that the defendant, Michael William Sproles, is hereby committed to the custody of the Bureau of
Prisons to be imprisoned for a term of 132 months, as to Count One and 120 months, as to Count 30, to be served concurrently for a
net term of imprisonment of 132 months. This sentence shall be served concurrently with any sentence imposed for the violation of
probation in Washington County Criminal Court Docket Number 44787A.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of five (5) years as to Count One, and
three (3) years as to Count 30, to run concurrently for a net term of five (5) years.

$200.00 Assessment - Fine is waived

All remaining counts as to this defendant in this case are dismissed on the motion of the United States.

CONDITIONS OF SUPERVISED RELEASE:

[X] 13 standard conditions           [X] no firearms , no ammunition, no destructive devices, or any other dangerous weapon
[X] no illegal drugs                 [X] cooperate w/the collection of DNA as directed
[X] participate in a drug and/or alcohol abuse treatment program as directed by USPO
[X] participate in a mental health program as directed by USPO
[X] You shall submit your person, property, house, residence, vehicle, papers, [computers (as defined in 18 U.S.C. § 1030(e)(1)),
other electronic communications or data storage devices or media,] or office, to a search conducted by a United States probation
officer or designee.
 [X] You shall not take any prescribed narcotic drug, or other controlled substance, without notifying the physician that you have a
 substance abuse problem and without obtaining permission from the probation officer.

RECOMMENDATIONS:

[X] that defendant be given credit for time served from 7/16/19 to the present
[X] 500 hours of substance abuse treatment from the Bureau of Prisons’ Institute Residential Drug Abuse Treatment Program / receive
a physical health evaluation and a mental health evaluation and needed treatment while in the custody of the Bureau of Prisons / be
afforded a full range of educational and vocational programs offered by the Bureau of Prisons / expedited placement to the BOP
federal facility in Beckley, WV.
[X] Placed in custody of U.S. Marshal




    Case 2:19-cr-00196-JRG-CRW Document 513 Filed 09/14/20 Page 1 of 1 PageID #: 3616
